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                                                                                             FILED
                              UNITED STATES DISTRICT COURT
                                                                                             JAN 03201;
                                 DISTRICT OF SOUTH DAKOTA

                                       SOUTHERN DIVISION
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                           *
EUGENE H. MATHISON,        *      CIV. 12-4156
                           *
               Petitioner, *
                           * MEMORANDUM OPINION
     - vs ­                * AND ORDER RE: ESTOPPEL
                           *      AND BAIL
DAVID BERKEBILE, Warden,   *
                           *
               Respondent. *
                                                *
***************************************************
        Ina Memorandum Opinion and Order dated December 20,2013, (Doc. 21) this Court made
a preliminary determination that the Respondent was estopped from asserting his lack ofin personam
jurisdiction defense, but allowed the Respondent until December 31, 2013, to be heard on the issue
ofjudicial estoppel before the Court made its final determination. The Respondent has not filed any
pleading regarding the issue 0 f estoppel. The Court having fully considered the matter makes its final
determination that judicial estoppel applies to the issue ofin personam jurisdiction, and that this Court
has jurisdiction to consider the Section 2241 petition in this case.


        In the Memorandum Opinion and Order dated December 20,2013, the Court ordered that
Mathison's Motion for Bail (Doc. 4) would be held in abeyance pending the Court's consideration
ofRespondent's submission regarding estoppel. Since the Respondent presented no submission on
estoppel and since the Court has made its final determination regarding estoppel and in personam
jurisdiction, the Court will make its findings and rule on Mathison's Motion for Bail.


        In the context of a state prisoner seeking federal habeas reliefthe Eighth Circuit has stated,
" 'In spite ofthe lack of specific statutory authorization, it is within the inherent power of a District
Court ofthe United States to enlarge a state prisoner on bond pending hearing and decision on his
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[or her] application for a writ of habeas corpus.' " Martin v. Solem, 801 F.2d 324, 329 (8th Cir.
1986) (quoting In re Wainwright, 518 F.2d 173, 174 (5th Cir.1975)). The Eighth Circuit noted in
Martin that habeas petitioners are rarely granted release on bail, and that release on bail pending the
disposition ofa habeas petition, or pending appeal, I requires a habeas petitioner to show a substantial
federal constitutional claim and the existence ofsome circumstance making his request exceptional
and deserving of special treatment in the interests ofjustice. Martin v. Solem, 801 F.2d at 330.


        This Court has determined that Mathison has made a solid claim for relief with regard to at
least some of his money laundering convictions. The Court has also determined that it would
resentence Mathison to less than it originally sentenced Mathison based on at least some ofhis money
laundering convictions being invalid under United States v. Santos, 553 U.S. 507 (2008). Mathison's
release date is in December of 2014. Since Mathison does not have a substantial sentence left to
serve, the Court finds that his case is exceptional and deserving of special treatment in that granting
the motion for bail is likely necessary to make the habeas remedy effective.


        In addition, this Court finds by clear and convincing evidence that Mathison is not likely to
flee or pose a danger to the community. Mathison is seventy-six years old and has reported health
problems. Mathison also has ties to the community and a history of appearing for his court dates.
Accordingly,


       IT IS ORDERED:


        1.     That Petitioner Mathison is released on bail without surety pending the final
               resolution of his § 2241 petition; and

        2.     That upon his release, Petitioner Mathison shall report to the United States


        IFederal Rule of Appellate Procedure 23(b)(3) allows a district court pending review of a
decision not to release a prisoner in a habeas corpus procedure to release the prisoner on personal
recognizance with or without surety. Federal Rule of Appellate Procedure 23(c) requires the
release of a prisoner in a habeas corpus procedure pending review of a decision ordering release
unless a court orders otherwise.

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             Probation and Pretrial Services in Sioux Falls, South Dakota, and shall abide
             by all conditions imposed by that office.

      Dated this 3rd day ofJanuary, 2014.

                                            BY THE COURT:


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                                              wrence L. Piersol
                                            United States District Judge
ATTEST:
JOSEPH HAAS, CLERK

BY:   J.ulUr'!at
      (SEAL)
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